
LETTS, Judge.
Appellant is correct in his assertion that the judge considered the wrong guidelines; it is true, however, that she departed from .them in any case. We remand for resen-tencing in accordance with the guidelines in effect at the time the offense was committed. Miller v. State, 468 So.2d 1018 (Fla. 4th DCA 1985). The same sentence is possible if clear and convincing reasons for departure from the applicable guidelines are stated in writing. Boynton v. State, 473 So.2d 703 (Fla. 4th DCA 1985).
REVERSED AND REMANDED IN ACCORDANCE HEREWITH.
DELL, J., and COOK, JACK H,, Associate Judge, concur.
